     Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 1 of 11 PageID #:
                                         17158
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
                                   NNSV Query Result
11/16/2020 11:45 EST                Generated By: CHRISTOPHER TAYLOR                         Page 1 of 6

REQUEST
                            Request Message Detail                         Date and Time          Seq
FQ.MAICE01T0.MA.*NN17387108.TXT PUR/C.ATN/TAYLOR, CHRISTOPHER          11/16/2020 11:44:55      17387108
D.SID/MAP1806694




RESPONSE
               Source                             Date and Time                    Status
               Nlets                          11/16/2020 11:44:57               Acknowledged




                          For Official Use Only / Law Enforcement Sensitive
      Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 2 of 11 PageID #:
                                          17159
                            U.S. Customs and Border Protection
                           U.S. Department of Homeland Security
                                    NNSV Query Result
11/16/2020 11:45 EST                 Generated By: CHRISTOPHER TAYLOR              Page 2 of 6

FR.MASIR0000
09:45 11/16/2020 42830
09:45 11/16/2020 08685 MAICE01T0
*NN17387108
TXT
PUR/C.ATN/TAYLOR, CHRISTOPHER D.SID/MAP1806694
THIS RECORD IS BASED ONLY ON THE PCF NUMBER IN YOUR REQUEST-
PCF/1806694



THE FOLLOWING IS NONFINGERPRINT SUPPORTED DATA BASED ON YOUR PCF REQUEST.

              *** C I V I L R E S T R A I N I N G O R D E R ***
--------------------------------------------------------------------------------
Defendant: LOPES, ALBERTO G               DOB:          PCF: 001806694
--------------------------------------------------------------------------------
Plaint:
Street: --                             City:                              ST:
--------------------------------------------------------------------------------
Docket:     1354RO0382   Court: 54 Order: M.G.L. Chapter 209A Section:     3
Order Date: 12/13/13 Expiration Date: 12/23/14     Status:*** CLOSE ***
                 *** *** *** Court Orders *** *** ***
 1.X Refrain from abuse                  2.X No contact stay at least 100 yds
 3.X Vacate/stay away resd     Bld       4. Address Impounded
 5.X Stay away workplace                 6.X Custody of following to plaintiff


 7.   No contact with any child named in 6 or listed below: Stay at least     yd


     Stay away from school,daycare,other: (see order)
 8. Visitation rights: See Order         9. Support payment ordered
10. Personal belongings pickup w/PD     11. Compensation ordered
12.X Surrender guns,ammo,LIC,FID        13. Other: See order
------------------------------------------------------------------------------
              *** C I V I L R E S T R A I N I N G O R D E R ***
--------------------------------------------------------------------------------
Defendant: LOPES, ALBERTO G               DOB:          PCF: 001806694
--------------------------------------------------------------------------------
Plaint:
Street:                                City:                              ST: MA
--------------------------------------------------------------------------------
Docket:      1345RO228   Court: 45 Order: M.G.L. Chapter 209A Section:     4
Order Date: 12/13/13 Expiration Date: 12/19/13     Status:*** CLOSE ***
                 *** *** *** Court Orders *** *** ***
 1.X Refrain from abuse                  2.X No contact stay at least 100 yds
 3.X Vacate/stay away resd     Bld       4. Address Impounded
 5. Stay away workplace                  6. Custody of following to plaintiff


 7.   No contact with any child named in 6 or listed below: Stay at least     yd


     Stay away from school,daycare,other: (see order)
  8. Visitation rights: See Order        9. Support payment ordered
10. Personal belongings pickup w/PD     11. Compensation ordered
12.X Surrender guns,ammo,LIC,FID        13. Other: See order
------------------------------------------------------------------------------
********************************************************************************
*                                                                              *
*                   ******* WARNING ******** WARNING ********                  *
*                                                                              *
*      THIS INFORMATION IS CORI. IT IS NOT SUPPORTED BY FINGERPRINTS.          *
*PLEASE CHECK THAT THE NAME REFERENCED BELOW MATCHES THE NAME AND DATE OF BIRTH*
*OF THE PERSON REQUESTED.                                                      *
*                                                                              *
********************************************************************************

            **********    COMMONWEALTH OF MASSACHUSETTS    **********
               DEPARTMENT OF CRIMINAL JUSTICE INFORMATION SERVICES

                          *** PERSONS COURT SUMMARY ***

NAM: LOPES, ALBERTO G               FORMAL-NAM: ALBERT          PCF: 00001806694
DOB:            SEX: M RAC: U         POB:                      SSN:
MOM:GAUDINA LOPES       POP:ALIRIO LOPES    HGT: 510 WGT: 200 HAI: BLK EYE: BLK
ADDRESS: 497 COLUMBIA ROAD APT.3, DORCHESTER, MA

COMMENTS:


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     Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 3 of 11 PageID #:
                                         17160
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
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***** ***** ***** ***** ADULT APPEARANCES ***** ***** ***** *****

ARRAIGNMENT: (0001)
  ARG-DATE: 12/02/14 PD: BOS COURT: WEST ROXBURY DISTRICT    DKT#: 1406CR002267A
  OFF: POSS TO DISTRIBUTE CLASS D                           CSA POSS DIST D
  STATUS: C   WPD:      WDT:
  DISP: % C 5/19/15 C 7/17/15 CC PD DISM

ARRAIGNMENT: (0002)
  ARG-DATE: 12/02/14 PD: BOS COURT: WEST ROXBURY DISTRICT    DKT#: 1406CR002267B
  OFF: CONTROL SUBSTANCE SCHOOL                             CSA SCHOOL
  STATUS: C   WPD:       WDT:
  DISP: % C 5/19/15 DISM

ARRAIGNMENT: (0003)
  ARG-DATE: 07/02/14 PD: BOS COURT: BOSTON DISTRICT          DKT#: 1401CR002328A
  OFF: CRIME OF (SPECIFY IN FULL)      FLS MV INSR CERT     CRIME OF
  STATUS: C   WPD:      WDT:
  DISP: C 8/6/14 DISM

ARRAIGNMENT: (0004)
  ARG-DATE: 07/02/14 PD: BOS COURT: BOSTON DISTRICT          DKT#:   1401CR002328B
  OFF: OPERATING AFTER                                      114B
  STATUS: C   WPD:      WDT:
  DISP: C 8/6/14 DISM

ARRAIGNMENT: (0005)
  ARG-DATE: 07/02/14 PD: BOS COURT: BOSTON DISTRICT          DKT#: 1401CR002328C
  OFF: OPERATING AFTER SUSPEND REG                          114C-SUS
  STATUS: C   WPD:      WDT:
  DISP: C 8/6/14 DISM

ARRAIGNMENT: (0006)
  ARG-DATE: 09/05/13 PD: BOS COURT: SUFFOLK SUPERIOR        DKT#:   1384CR10753A
  OFF: DISTRIBUTE/DISPENSE CLASS B     DRUG                CSA DIST B
  STATUS: C   WPD:      WDT:
  DISP: C 2/3/17 G 2/13/17 12-12YR 1DA CMTD 11/13/20 VERDICT SET ASIDE VAC 2-3YR
        CMTD

ARRAIGNMENT: (0007)
  ARG-DATE: 09/05/13 PD: BOS COURT: SUFFOLK SUPERIOR         DKT#:   1384CR10753B
  OFF: DISTRIBUTING CONT SUB           COCAINE              CSA DIST
  STATUS: C   WPD:      WDT:
  DISP: C 2/3/17 JT NG

ARRAIGNMENT: (0008)
  ARG-DATE: 09/05/13 PD: BOS COURT: SUFFOLK SUPERIOR         DKT#:   1384CR10753C
  OFF: DISTRIBUTING CONT SUB           COCAINE              CSA DIST
  STATUS: C   WPD:      WDT:
  DISP: C 2/3/17 JT NG

ARRAIGNMENT: (0009)
  ARG-DATE: 05/10/13 PD: BOS COURT: DORCHESTER DISTRICT      DKT#: 1307CR001886A
  OFF: DISTRIBUTE/DISPENSE CLASS B                          CSA DIST B
  STATUS: C   WPD:      WDT:
  DISP: % C 7/31/13 DISM TO INDICT

ARRAIGNMENT: (0010)
  ARG-DATE: 05/10/13 PD: BOS COURT: DORCHESTER DISTRICT      DKT#: 1307CR001886B
  OFF: POSS TO DISTRIBUTE CLASS D                           CSA POSS DIST D
  STATUS: C   WPD:      WDT:
  DISP: % C 7/31/13 DISM TO INDICT

ARRAIGNMENT: (0011)
  ARG-DATE: 05/10/13 PD: BOS COURT: DORCHESTER DISTRICT      DKT#:   1307CR001886C
  OFF: OPERATING AFTER                                      114B
  STATUS: C   WPD:      WDT:
  DISP: % C 7/31/13 DISM TO INDICT

ARRAIGNMENT: (0012)
  ARG-DATE: 05/10/13 PD: BOS COURT: DORCHESTER DISTRICT      DKT#: 1307CR001886D
  OFF: TRAFFICKING CONT SUB                                 CSA TRAFF
  STATUS: C   WPD:      WDT:
  DISP: % C 7/31/13 DISM TO INDICT

ARRAIGNMENT: (0013)
  ARG-DATE: 10/23/07 PD: SI6 COURT: DORCHESTER DISTRICT      DKT#: 0707CR006958B
  OFF: POSS TO DISTRIBUTE CLASS D      MARIJUANA            CSA POSS DIST D
  STATUS: C   WPD:      WDT:
  DISP: C 2/15/08 JT G 18MO SS 2/12/10 VWF TERM


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     Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 4 of 11 PageID #:
                                         17161
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
                                   NNSV Query Result
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ARRAIGNMENT: (0014)
  ARG-DATE: 10/23/07 PD: SI6 COURT: DORCHESTER DISTRICT     DKT#: 0707CR006958C
  OFF: CONTROL SUBSTANCE SCHOOL        PARK                CSA SCHOOL
  STATUS: C   WPD:      WDT:
  DISP: C 2/15/08 JT DISM

ARRAIGNMENT: (0015)
  ARG-DATE: 02/04/04 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0407CR0136A
  OFF: POSS TO DISTRIBUTE CLASS D                          CSA POSS DIST D
  STATUS: C   WPD:      WDT:
  DISP: C 2/28/05 JT DISM

ARRAIGNMENT: (0016)
  ARG-DATE: 09/16/03 PD: SEH COURT: NATICK DISTRICT          DKT#:     0387CR0667A
  OFF: OPERATING AFTER SUSPEND LIC                          114B-SUS
  STATUS: C   WPD:      WDT:
  DISP: C 10/21/03 DFDR 10/28/03 G $300 FINE VWF 4/27/04 PD

ARRAIGNMENT: (0017)
  ARG-DATE: 08/21/03 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0307CR4838A
  OFF: MAL DESTRUCTION OF PROPERTY                         PROP MAL DES
  STATUS: C   WPD:      WDT:
  DISP: C 2/25/04 JT(@1) 0307JC7797A DISM

ARRAIGNMENT: (0018)
  ARG-DATE: 08/21/03 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0307CR4838B
  OFF: ATTEMPT TO COMMIT CRIME                             ATT COM CRIME
  STATUS: C   WPD:      WDT:
  DISP: C 2/25/04 JT(@1) 0307JC7797B DISM

ARRAIGNMENT: (0019)
  ARG-DATE: 07/08/02 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:     0207CR4496A
  OFF: POSS CLASS D CONT SUB                               CSA POSS D
  STATUS: C   WPD:      WDT:
  DISP: C 9/10/02 G $500 FINE C VN 1/24/03 DF 7/11/03 D/R C 7/25/03 CC PD TERM

ARRAIGNMENT: (0020)
  ARG-DATE: 07/08/02 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:      0207CR4496C
  OFF: COMPULSORY INSURANCE VIOLATION                      118A
  STATUS: C   WPD:      WDT:
  DISP: C 9/10/02 DISM

ARRAIGNMENT: (0021)
  ARG-DATE: 07/08/02 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0207CR4496D
  OFF: OPERATING AFTER SUSPEND LIC                         114B-SUS
  STATUS: C   WPD:      WDT:
  DISP: C 9/10/02 G $500 FINE C VN 1/24/03 DF 7/11/03 D/R C 7/25/03 CC PD TERM

ARRAIGNMENT: (0022)
  ARG-DATE: 07/08/02 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0207CR4496E
  OFF: CONSPIRACY TO VIO CONT SUB ACT                      CSA CONSP
  STATUS: C   WPD:      WDT:
  DISP: C 9/10/02 DISM

ARRAIGNMENT: (0023)
  ARG-DATE: 10/02/01 PD: 664 COURT: ROXBURY DISTRICT        DKT#: 0102CR004543A
  OFF: POSS CLASS D CONT SUB                               CSA POSS D
  STATUS: C   WPD:      WDT:
  DISP: DFW 7/19/02 DR C 8/16/02 DFW 8/16/02 DR C 10/3/2 CWOF7/9/04VWFC
        2/5/04VN3/16/04 8/10/04 DISM

ARRAIGNMENT: (0024)
  ARG-DATE: 02/10/00 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    0007CR0614B
  OFF: OPERATING AFTER SUSPEND LIC                         114B-SUS
  STATUS: C   WPD:      WDT:
  DISP: DF 6/19/00 D/R C 7/18/00 CC 8/9/00 PROB EXT 9/8/00 WAR 7/8/02 D/R PD
        DISM

ARRAIGNMENT: (0025)
  ARG-DATE: 03/10/99 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:     9907CR1646A
  OFF: POSS CLASS B CONT SUB           W/I DIST            CSA POSS B
  STATUS: C   WPD:      WDT:
  DISP: C 10/5/99 JT DF 10/6/99 D/R C 2/4/00 JT DISM

ARRAIGNMENT: (0026)
  ARG-DATE: 03/10/99 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:     9907CR1646B
  OFF: POSS CLASS D CONT SUB                               CSA POSS D
  STATUS: C   WPD:      WDT:
  DISP: C 10/5/99 JT DF 10/6/99 D/R C 2/4/00 JT DISM

ARRAIGNMENT: (0027)
  ARG-DATE: 07/14/98 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:      9807CR4916A

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                                         17162
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
                                   NNSV Query Result
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  OFF: USE WITHOUT AUTHORITY                               114A
  STATUS: C   WPD:      WDT:
  DISP: G PROB 2/8/99 C 2/8/99 VOP DF 2/17/99 D/R TERM

ARRAIGNMENT: (0028)
  ARG-DATE: 07/14/98 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:      9807CR4916B
  OFF: OPERATING AFTER SUSPEND LIC                         114B-SUS
  STATUS: C   WPD:      WDT:
  DISP: C 8/7/98 DISM

ARRAIGNMENT: (0029)
  ARG-DATE: 05/07/98 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:     9807CR3298A
  OFF: POSS CLASS D CONT SUB           MARIJUANA           CSA POSS D
  STATUS: C   WPD:      WDT:
  DISP: C 7/1/98 DF 7/14/98 D/R C 8/7/98 G DISM

ARRAIGNMENT: (0030)
  ARG-DATE: 05/07/98 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:     9807CR3298B
  OFF: POSS CLASS D CONT SUB           MARIJUANA           CSA POSS D
  STATUS: C   WPD:      WDT:
  DISP: C 7/1/98 DF 7/14/98 D/R 8/7/98 G PROB 2/8/99 VWF C 2/8/99 VOP DF 2/17/99
        D/R C 2/26/99 TERM

ARRAIGNMENT: (0031)
  ARG-DATE: 09/22/97 PD: EAT COURT: EAST BROOKFIELD DISTRICTDKT#:    9769CR1235A
  OFF: USE WITHOUT AUTHORITY                               114A
  STATUS: C   WPD:      WDT:
  DISP: C 12/15/97 CWOF 6/14/98 VWF PD REST VN 5/29/98 DF D/R DF D/R 8/6/98 DISM

ARRAIGNMENT: (0032)
  ARG-DATE: 10/09/96 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:      9607CR7315A
  OFF: ASSAULT AND BATTERY             FAMILY ABUSE        A&B
  STATUS: C   WPD:      WDT:
  DISP: C 12/26/96 DISM

ARRAIGNMENT: (0033)
  ARG-DATE: 10/09/96 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:      9607CR7315B
  OFF: ASSAULT DANGEROUS WEAPON                            ASLT DW
  STATUS: C   WPD:      WDT:
  DISP: C 12/26/96 DISM

ARRAIGNMENT: (0034)
  ARG-DATE: 11/05/93 PD: BOS COURT: DORCHESTER JURY OF SIX DKT#:     9307JC0963A
  OFF: POSS TO DISTRIBUTE CLASS B                          CSA POSS DIST B
  STATUS: C   WPD:      WDT:
  DISP: C 1/19/94 CWOF 1/19/96 (@7 7251) C 1/24/96 DISM 9/10/12 MOTION ALLOWED
        VACATE FINDING AND DISM

ARRAIGNMENT: (0035)
  ARG-DATE: 10/14/93 PD: BOS COURT: DORCHESTER DISTRICT     DKT#: 9307CR007251A
  OFF: POSS TO DISTRIBUTE CLASS B                          CSA POSS DIST B
  STATUS: C   WPD:      WDT:
  DISP: C 11/5/93 G PROG 5/5/95 APP 9/10/12 MOTION ALLOWED DISM

ARRAIGNMENT: (0036)
  ARG-DATE: 06/05/91 PD: 663 COURT: DORCHESTER DISTRICT     DKT#: 9107CR004091A
  OFF: CONTROL SUBSTANCE SCHOOL                            CSA SCHOOL
  STATUS: C   WPD:      WDT:
  DISP: C 6/18/91 DISM

ARRAIGNMENT: (0037)
  ARG-DATE: 06/05/91 PD: BOS COURT: DORCHESTER DISTRICT     DKT#: 9107CR004091B
  OFF: DISTRIBUTE/DISPENSE CLASS B                         CSA DIST B
  STATUS: C   WPD:      WDT:
  DISP: C 6/18/91 CWOF 6/17/92 VWF DISM 8/26/13 MOTION TO VACATE ALLOW C 12/2/13
        DISM

ARRAIGNMENT: (0038)
  ARG-DATE: 06/05/91 PD: 663 COURT: DORCHESTER DISTRICT     DKT#: 9107CR004091C
  OFF: CONTROL SUBSTANCE SCHOOL                            CSA SCHOOL
  STATUS: C   WPD:      WDT:
  DISP: C 6/18/91 DISM

ARRAIGNMENT: (0039)
  ARG-DATE: 06/05/91 PD: BOS COURT: DORCHESTER DISTRICT     DKT#: 9107CR004091D
  OFF: POSS TO DISTRIBUTE CLASS B                          CSA POSS DIST B
  STATUS: C   WPD:      WDT:
  DISP: C 6/18/91 CWOF 6/17/92 DISM 8/26/13 MOTION TO VACA TE ALLOWED C 12/2/13
        DISM

ARRAIGNMENT: (0040)
  ARG-DATE: 06/05/91 PD: BOS COURT: DORCHESTER DISTRICT     DKT#:    9107CR004091E

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                                         17163
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                          U.S. Department of Homeland Security
                                   NNSV Query Result
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 OFF: CONSPIRACY TO VIO CONT SUB ACT                      CSA CONSP
 STATUS: C   WPD:      WDT:
 DISP: C 6/18/91 CWOF 6/17/92 DISM MOTION TO VACATE ALLOW ED C 12/2/13 DISM

***** ***** ***** **** END OF ADULT APPEARANCES ***** ***** ***** *****

REQUESTED BY: TAYLOR, CHRISTOPHER
COMPLETED BY: TAYLOR, CHRISTOPHER
      AGENCY:
   * * * END OF RECORD * * *




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     Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 7 of 11 PageID #:
                                         17164
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
                                   NNSV Query Result
11/16/2020 11:40 EST                Generated By: CHRISTOPHER TAYLOR                              Page 1 of 5

REQUEST
                            Request Message Detail                              Date and Time          Seq
2L01NN17366595.QR.MAICE01T0.FBI/806184CB3.PUR/C.ATN/TAYLOR, CHRISTOPHER D   11/16/2020 11:40:07      17366595




RESPONSE
               Source                             Date and Time                         Status
                III                           11/16/2020 11:40:07                   Unacknowledged
FL01NN17366595
MAICE01T0
THIS INTERSTATE IDENTIFICATION INDEX RESPONSE IS THE RESULT OF YOUR
RECORD REQUEST FOR FBI/806184CB3. THE FOLLOWING WILL RESPOND TO YOUR
AGENCY:
 FBI            - FBI/806184CB3
END


RESPONSE
               Source                             Date and Time                         Status
               Nlets                          11/16/2020 11:40:12                    Acknowledged




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       Case 1:20-cv-00216-MSM-PAS Document 390-4 Filed 11/17/20 Page 8 of 11 PageID #:
                                           17165
                             U.S. Customs and Border Protection
                            U.S. Department of Homeland Security
                                     NNSV Query Result
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CR.WVFBINF00
09:40 11/16/2020 48373
09:40 11/16/2020 08561 MAICE01T0
*NN17366595
TXT
HDR/2L01NN17366595
ATN/TAYLOR, CHRISTOPHER D
********************** CRIMINAL HISTORY RECORD       ***********************

****************************     Introduction    ****************************

This rap sheet was produced in response to the following request:

FBI Number               806184CB3
Request Id               NN17366595
Purpose Code             C
Attention                TAYLOR, CHRISTOPHER D

The information in this rap sheet is subject to the following caveats:

This record is based only on the FBI number in your request-UCN:
806184CB3 Because additions or deletions may be made at any time, a new
copy should be requested when needed for subsequent use.(US;
2020-11-16)

All entries contained in this FBI record are based on fingerprint
comparisons and pertain to the same individual.(US; 2020-11-16)

The use of this record is regulated by law. It is provided for official
use only and may be used only for the purpose requested.(US;
2020-11-16)

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
* FEDERAL DEOXYRIBONUCLEIC ACID (DNA) INDICATOR * * * * DNA NOT IN
CODIS - COLLECT DNA * * * - - - - - - - - - - - - - - - - - - - - - - -
- - - - - - - - - - - - -(US; 2020-11-16)


***************************     IDENTIFICATION    ***************************

Subject Name(s)

LOPES,   ALBERTO G
LOPES,   AL (AKA)
LOPES,   ALBERTO (AKA)
LOPES,   ALBERTO GALVAO (AKA)
LOPES,   ALBERTO NMI (AKA)

Subject Description

FBI Number
806184CB3

Social Security Number




Miscellaneous Numbers
1083340629                                         FN
AXXXXXXXX                                         AR
035291399                                          AR

Sex                      Race
Male                     White

Height                   Weight                     Date of Birth
5'10"                    165



Hair Color               Eye Color                  Fingerprint Pattern
Black                    Brown                      PO1109CO12DI04111714 (FPC)

Scars, Marks, and Tattoos
Code                    Description, Comments, and Images
TAT CHEST               , TATTOO ON CHEST


Place of Birth           Citizenship

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                                         17166
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
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Massachusetts          Unknown
                       United States
                       Cape Verde Islands

Fingerprint Images

Palmprint Images
(No Palmprint Image Transmitted     )
(No Palmprint Image Transmitted     )
(No Palmprint Image Transmitted     )

Photo Images
Photo Image Available
Capture Date                       1996-10-08
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2000-06-17
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2001-10-02
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2002-07-06
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2013-05-09
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2013-05-09
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2014-12-01
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2014-12-01
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2016-06-08
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2016-06-08
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2017-02-13
(No Photo Image Transmitted    )
Photo Image Available
Capture Date                       2020-11-13
(No Photo Image Transmitted    )


**************************    CRIMINAL HISTORY   **************************

=============================== Cycle 001 ==============================
Earliest Event Date     1996-10-08
------------------------------------------------------------------------
Arrest Date             1996-10-08
Arrest Case Number      93147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal ASSAULT BY MEANS
              Severity Unknown
=============================== Cycle 002 ==============================
Earliest Event Date     1996-10-08
------------------------------------------------------------------------
Arrest Date             1996-10-08
Arrest Case Number      960510319
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal DOMESTIC VIOLENCE; OTHER
              Severity Unknown
=============================== Cycle 003 ==============================
Earliest Event Date     2000-06-17
------------------------------------------------------------------------
Arrest Date             2000-06-17
Arrest Case Number      1993147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal OPERATING AFTER REVOCATION OR SUSPENSION
              Severity Unknown
=============================== Cycle 004 ==============================
Earliest Event Date     2001-10-02
------------------------------------------------------------------------

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                                         17167
                           U.S. Customs and Border Protection
                          U.S. Department of Homeland Security
                                   NNSV Query Result
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Arrest Date             2001-10-02
Arrest Case Number      1993147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal POSSESSION OF CLASS D
               Severity Unknown
=============================== Cycle 005 ==============================
Earliest Event Date     2002-07-06
------------------------------------------------------------------------
Arrest Date             2002-07-06
Arrest Case Number      1993147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal POSSESSION OF CLASS D
               Severity Unknown
Charge                  2
        Charge Literal POSSESSION OF CLASS D
               Severity Unknown
Charge                  3
        Charge Literal OPERATING AFTER REVOCATION OR SUSPENSION
               Severity Unknown
Charge                  4
        Charge Literal CONSPIRACY TO VIOLATE DRUG LAWS
               Severity Unknown
=============================== Cycle 006 ==============================
Earliest Event Date     2013-05-09
------------------------------------------------------------------------
Arrest Date             2013-05-09
Arrest Case Number      1993147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Charge                  1
        Charge Literal OPERATING AFTER REVOCATION OR SUSPENSION
               Severity Unknown
Charge                  2
        Charge Literal OP AFTER SUSPENSION 4TH OFFENSE
               Severity Unknown
Charge                  3
        Charge Literal POSSESSION W/I TO DISTRIBUTE, CLASS B, DRUGS
               Severity Unknown
=============================== Cycle 007 ==============================
Earliest Event Date     2014-12-01
------------------------------------------------------------------------
Arrest Date             2014-12-01
Arrest Case Number      1993147036
Arresting Agency        MA0130100 POLICE DEPARTMENT BOSTON
Subject's Name          LOPES,ALBERTO G
                        LOPES,ALBERTO
Charge                  1
        Charge Literal POSSESSION W/I TO DISTRIBUTE, CLASS E, DRUGS
               Severity Unknown
=============================== Cycle 008 ==============================
Earliest Event Date     2016-06-08
------------------------------------------------------------------------
Arrest Date             2016-06-08
Arrest Case Number      1059422
Arresting Agency        MA0110000 SHERIFF'S OFFICE DEDHAM
Subject's Name          LOPES,ALBERTO NMI
Charge                  1
        Charge Literal CONTEMPT
               Severity Unknown
=============================== Cycle 009 ==============================
Earliest Event Date     2017-02-13
------------------------------------------------------------------------
Arrest Date             2017-02-13
Arrest Case Number      W109203
Arresting Agency        MA011925C MCI-CEDAR JCT SOUTH WALPOLE
Subject's Name          LOPES,ALBERTO G
Charge                  1
        Charge Literal COCAINE, TRAFFICKING IN C94C S32E(B)
               Severity Unknown
------------------------------------------------------------------------
Court Disposition       (Cycle 009)
Court Case Number
Final Disposition Date 2017-02-13
Court Agency
Charge                  1
        Charge Literal COCAINE, TRAFFICKING IN 18 GRAMS OR MORE, LESS
                        THAN 36 GRAMS   C94C S32E
            Disposition ( 2017-02-13; NOT MORE THAN 12 YEARS AND 1 DAY
                        AND NOT LESS THAN 12 YEARS)
=============================== Cycle 010 ==============================
Earliest Event Date     2020-11-13

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                          U.S. Department of Homeland Security
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------------------------------------------------------------------------
Arrest Date             2020-11-13
Arrest Case Number      6808886552
Arresting Agency        MAICE0400 ICE/ERO BOSTON FLD O BURLINGTON
Subject's Name          LOPES,ALBERTO GALVAO
                        LOPES,ALBERTO G
                        LOPES,AL
Charge                  1
        Charge Literal 2009-09-19 212A2AIII CONTROLLED SUBSTANCE
                        CONVICTION
               Severity Unknown
************************* INDEX OF AGENCIES **************************

Agency                 POLICE DEPARTMENT; MA0130100;
Agency Email Address
Address                       ROOM 149-SOUTH
                       1 SCHROEDER PLAZA
                       BOSTON, MA 021202014

------------------------------------------------------------------------
Agency                  SHERIFF'S OFFICE; MA0110000;
Agency Email Address
Address                        200 WEST ST
                        PO BOX 149
                        DEDHAM, MA 020265528

------------------------------------------------------------------------
Agency                  MCI-CEDAR JCT; MA011925C;
Agency Email Address
Address
                        2405 MAIN ST RT 1A
                        SOUTH WALPOLE, MA 02071

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Agency                  ICE/ERO BOSTON FLD O; MAICE0400;
Agency Email Address
Address
                        10 NEW ENGLAND EXEC PARK
                        BURLINGTON, MA 018035214


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